467 F.2d 219
    Carl N. WALKER, Administrator of the Estate of Norbert N.Walker, Deceased,v.The TILLEY LAMP COMPANY, LIMITED, a corporation, et al.,Eagle Star Insurance Group, garnishee, Appellant.Mary C. FLAVIN, Administratrix of the Estate of Wilbert F.GRIES, Deceased,v.The TILLEY LAMP COMPANY, LIMITED, a corporation, et al., Appellant.
    Nos. 71-1752, 71-1753.
    United States Court of Appeals,Third Circuit.
    Argued June 9, 1972.Decided July 6, 1972.Certiorari Denied Oct. 10, 1972.See 93 S.Ct. 130.
    
      Thomas F. Weis, Weis &amp; Weis, Daniel J. Weis, Pittsburgh, Pa., for appellant.
      Jerry B. Landis, Robert A. Cohen, Pittsburgh, Pa., for appellees.
      Before HASTIE, GIBBONS and MAX ROSENN, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM:
    
    
      1
      This appeal challenges as an abuse of discretion the refusal of the trial judge to vacate a default entered against a garnishee as a result of its failure for 43 days to answer Interrogatories in Attachment despite the requirement of law that answer be filed within twenty days.
    
    
      2
      Rule 55(c), Federal Rules of Civil Procedure, under which appellant sought relief, authorizes a District Court "[f]or good cause shown . . . [to] set aside an entry of default."  Moreover, as the court below observed in this case, trial of the merits of a claim is preferable to disposition by default.  However, on the present record we cannot say that the District Court acted arbitrarily or unfairly in refusing to vacate the default.
    
    
      3
      The judgment entered pursuant to default will be affirmed.
    
    